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EXHIBIT 26
Case 1:20-cv-00484-LO-TCB Document 159-5 Filed 09/19/20 Page 2 of 3 PagelD# 5564

Doden, Matt

From: Kerri Assell <kassell@joneskeller.com>

Sent: Wednesday, January 17, 2018 9:44 AM

To: Plowden, Rob

Ce: Cherkin, Marnina; Heller, Mack; Kyle Ramstetter

Subject: RE: - Dulles NCP, LLC -Assignment and Assumption
Rob,

Dulles NCP, LLC has been formed in Delaware. Can you please send an execution version of the Assignment and
Assumption of Purchase and Sale Agreement?

Thank you.

Kerri

JONES:*-KELLER

Kerri P. Assell

Attorney At Law

P: 303.785.1613 | F: 303.573.8133
JONES «KELLER, P.C.

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Denver, Colorado 80202
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entirety. Thank you.

From: Plowden, Rob [mailto:robplowden@eversheds-sutherland.com]

Sent: Monday, January 15, 2018 4:05 PM

To: Kyle Ramstetter; Kerri Assell

Cc: Cherkin, Marnina (marninac@amazon.com); Tyerman, Sarah (tyermans@amazon.com); Heller, Mack; Kirschner,
Casey

Subject: IJ - Sterling NCP I - comments to SNDA and Assignment and Assumption

My comments to the SNDA and assignment and assumption are attached.
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This remains subject to my client’s review and approval.

Rob Plowden | Partner | Eversheds Sutherland (US) LLP

T: +1.404.853.8418
Biography | vCard

www.eversheds-sutherland.com

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